                Case 2:21-cv-02813-CFK                     Document 1-1       Filed 06/24/21            Page 1 of 22




                                         FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                                                           Filed and Attested by the
                                         COURT OF COMMON PLEAS OF PHILADELPHIAof Judicial Records
                                                                          Office
                                                                                                      25 MAY 2021 04:08 pm
                                                                                                             S. RICE



Ryan Quarles,
Plaintiff.

v.

Philadelphia Police Officers
Matthew Ponente, Badge # 7384,
Rozman, Badge #7079,
Aaron Turner, Badge # 9439,
Tilghman, Badge 6338, and
Sgt. McCabe, Badge # 403,
Defendants.

                                                              NOTICE TO DEFEND


                                                                                                      AVISO
                              NOTICE
                                                                             Le han demandado a usted en la corte. Si usted quiere
You have been sued in court. If you wish to defend against the claims        defenderse de estas demandas expuestas en las paginas
set forth in the following pages, you must take action within twenty         siguientes, usted tiene veinte (20) dias de plazo al partir de
(20) days after this complaint and notice are served, by entering a          la fecha de la demanda y la notificacion. Hace falta ascentar
written appearance personally or by attorney and filing in writing           una comparencia escrita o en persona o con un abogado y
with the court your defenses or objections to the claims set forth           entregar a la corte en forma escrita sus defensas o sus
against you. You are warned that if you fail to do so the case may           objeciones a las demandas en contra de su persona. Sea
proceed without you and a judgment may be entered against you by             avisado que si usted no se defiende, la corte tomara medidas
the court without further notice for any money claimed in the                y puede continuar la demanda en contra suya sin previo
complaint of for any other claim or relief requested by the plaintiff.       aviso o notificacion. Ademas, la corte puede decider a favor
You may lose money or property or other rights important to you.             del demandante y requiere que usted cumpla con todas las
                                                                             provisiones de esta demanda. Usted puede perder dinero o
                                                                             sus propiedades u otros derechos importantes para usted.

                                                                             Lleve esta demanda a un abogado immediatamente. Si no
You should take this paper to your lawyer at once. If you do not have a      tiene abogado o si no tiene el dinero suficiente de pagar tal
lawyer or cannot afford one, go to or telephone the office set forth below   servicio. Vaya en persona o llame por telefono a la oficina
to find out where you can get legal help.                                    cuya direccion se encuentra escrita abajo para averiguar
                                                                             donde se puede conseguir asistencia legal.

                                                                                           Asociacion De Licenciados
                                                                                                   De Filadelfia
                  Philadelphia Bar Association                                               Servicio De Referencia E
                         Lawyer Referral                                                        Informacion Legal
                     and Information Service                                                   1101 Market St., 11th Piso
                       1101 Market St., 11th Floor                                        Filadelfia, Pennsylvania 19107
                Philadelphia, Pennsylvania 19107                                                  (215) 238-6333
                          (215) 238-6333


                                                                                                                       Case ID: 210502280
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  AARON BELL, ESQUIRE
  PA. BAR ID #325483
  7303 FFANKFORD AVENUE
  P.O. BOX 22024
  PHILADELPHIA, PA 19136
  (215) 609-4888                                     Attorney for Mr. Ryan Quarles
  aaronbelllawfirm@gmail.com


                      IN THE COURT OF COMMON PLEAS OF
                         PHILADELPHIA, PENNSYLVANIA

Ryan Quarles,                             :
Plaintiff                                 :
                 v.                       :       Jury Trial Demanded
                                          :
Philadelphia Police Officers              :       Civil Action
Matthew Ponente, Badge # 7384,            :       No.
Rozman, Badge #7079,                      :
Aaron Turner, Badge # 9439,               :
Tilghman, Badge # 6338, and               :
Sgt. McCabe, Badge # 403,                 :
Defendants.                               :
                                CIVIL COMPLAINT.

        Plaintiff, Mr. Ryan Quarles, by and through his attorney, aver as follows:

                                 INTRODUCTION.

       1.       This case is a tragedy that serves as another unfortunate example of

    why Black citizens cannot afford to blindly trust police. Mr. Quarles, a young

    black man, seeks substantial monetary damages as a result of falsely arrested and

    maliciously prosecuted, among other things, with lies because he lawfully carried

    a firearm WITH a valid license to carry (LTC).




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           2.        Mr. Quarles is a resident of Gwinnett County, Georgia.

           3.        The Defendants, Officers Ponente, Badge # 7384, Rozman, Badge #

        7079, Turner, Badge # 9439, Tilghman, Badge # 6338, and Sgt. McCabe, Badge

        # 403, are all employed by the Philadelphia Police Department (PPD) as patrol

        officers.1

           4.        Despite knowing that Mr. Quarles is a law-abiding young man who

        possessed a valid LTC that was issued by the state of Georgia, Defendants

        conspired amongst each other to, among other things, falsely arrest and accuse Mr.

        Quarles of carrying a firearm without a license on two separate occasions when he

        lawfully carried his firearm concealed in public. To this end, Defendants lied to

        this Court and to Philadelphia’s District Attorney’s Office (DAO) by falsely

        stating that Mr. Quarles did not possess a valid LTC when they encountered him.

           5.        After becoming aware of Defendants’ criminal conspiracy to

        “railroad” Mr. Quarles to state prison for serious criminal offenses that never

        occurred, both the Court and DAO agreed that, as a matter of law, Mr. Quarles

        was not guilty of Defendants’ fabricated charges.




1
 Mr. Quarles does not yet have Defendants Rozman, Tilghman, and McCabe’s first name which why each is
Defendant identified in the caption with only their respective last name and unique PPD badge number.


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   6.     Now, cleared of Defendants’ false charges, Mr. Quarles seeks to

vindicate his rights with a weighty judgment that condemns each respective

Defendant for his abuse of authority.

   7.     Jurisdiction and venue are proper in this Court because all pertinent

events occurred within Philadelphia, Pennsylvania.

                                    FACTS.

   8.     From September 29, 2016, to July 28, 2020, Mr. Quarles possessed a

valid LTC issued from Gwinnett County, Georgia. Judge Ballar’s May 4, 2021,

letter to LizMary Mejia-Julio, Esquire, attached as Exhibit No 1.

   9.     Since April 14, 2018, Pennsylvania and Georgia have been parties to a

Reciprocity Agreement in which both states agreed to honor the LTCs that each

issues to its respective residents who are at least 21-years old. Reciprocity

Agreement of April 14, 2018, between the Commonwealth of Pennsylvania and

the State of Georgia (“Pennsylvania-Georgia Agreement”), attached as Exhibit

No. 2.

   10.    In 2020, Mr. Quarles’ Georgia LTC authorized him to carry concealed

firearms on the public streets of Pennsylvania pursuant to the Pennsylvania-

Georgia Agreement because he was at least 21-years old. To be sure, in 2020, Mr.

Quarles was 25-years old.




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The First Incident.

   11.     At approximately 4:51 PM, on February 3, 2020, Mr. Quarles was

driving a vehicle in the Germantown section of Philadelphia.

   12.     On the same date and time, Defendants Ponente and Rozman were on

duty as PPD officers, patrolling Germantown in a marked PPD patrol car.

   13.     While stopped at the intersection of Gray Street and Chew Avenue,

Defendants saw Mr. Quarles and decided to pull him over without having a legal

basis to justify the stop.

   14.     Mr. Quarles immediately complied with Defendants’ signal to pull

over. Defendants ordered Mr. Quarles and his passenger out of his vehicle and

proceeded to search their persons and the vehicle for contraband.

   15.     Upon searching his person, Defendants found Mr. Quarles’ .38 Special

snub-nose revolver inside of his front pocket. Defendants also recovered Mr.

Quarles’ Georgia LTC from his pocket and conducted a check to determine

whether the license was valid.

   16.     When the state of Georgia notified Defendants that the LTC was valid,

Defendants arrested Mr. Quarles for carrying a firearm without an LTC, even

though it was clear beyond all doubt he was legally entitled to carry firearms

concealed in public.




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   17.     Defendants Ponente and Rozman then transferred Mr. Quarles to the

police station to be formally charged and arraigned based solely upon a false

narration described in their police report.

   18.     In their fabricated report, Defendants falsely stated that Mr. Quarles

broke traffic laws and thereafter fled from police in a dangerous highspeed chase

on the public highway. Defendants’ false report also states that the state of Georgia

advised Defendants that Mr. Quarles did not have a valid LTC.

   19.     Moreover, Defendants confiscated Mr. Quarles’ firearm and LTC

credential and have not returned these items.

   20.     Relying on Defendants false reports and unaware of their criminal

scheme to send Mr. Quarles’ to prison for serious crimes offenses that never

occured, DAO charged and prosecuted Mr. Quarles for carrying a firearm without

an LTC, pursuant to 18 Pa. Cons. Stat. §§6106, 6108. These offenses have a

combined statutory maximum punishment of 12 years in the state penitentiary.

   21.     On May 4, 2021, the state of Georgia informed DAO that Mr. Quarles’

LTC was valid at the time of his arrest. Exhibit No. 1.

   22.     Realizing that there was never a factual basis for the charges against

Mr. Quarles, DAO agreed to dismiss all charges against him and notified the Court

that the charges were unwarranted. On May 20, 2021, this Court’s Municipal

Criminal Section dismissed Defendants’ false charges with prejudice. Emails from



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DAO and Phila. Ct of Comm. Pl., attached as Exhibit No. 3.

   23.      Defendants caused Mr. Quarles to serve approximately one month in

jail prior to his release on bail.

   24.      As a result of Defendants’ deliberately unlawful acts, Mr. Quarles has

suffered substantial loss of liberty, property, and severe emotional distress.

The Second Incident.

   25.      At approximately 7 PM, on March 28, 2020, Mr. Quarles was in a

passenger inside of a vehicle being driven in West Philadelphia.

   26.      On the same date and time, Defendants Tilghman, Turner, and McCabe

were on duty as PPD patrol officers, patrolling West Philadelphia in marked police

cruisers. Defendants Tilghman and Turner were partners whereas Defendant

McCabe was a supervising sergeant driving in a separate patrol vehicle.

   27.      Defendants Tilghman and Turner decided to conduct a traffic stop of

the vehicle in which Mr. Quarles was a passenger without cause.

   28.      Defendants Tilghman and Turner ordered Mr. Quarles and all other

persons out of the vehicle. Defendants then proceeded to search all of the vehicle’s

occupants, including Mr. Quarles, for contraband under pretext of having smelled

marijuana. While Defendants Tilghman and Turner were carrying out their search,

Defendant McCabe arrived at the scene.




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   29.     Defendants’ search produced no evidence of contraband, but

Defendants did find a firearm, a Taurus PT111, G2 .9mm, on Mr. Quarles’ person

and they subsequently handcuffed and brought him to the police station.

   30.      Mr. Quarles could not produce his LTC credential because Defendants

Ponente and Rozman illegally confiscated it during the February 3, 2020, incident.

However, Mr. Quarles’ knew that he was authorized to carry a firearm because his

Georgia LTC was still valid.

   31.     Prior to arresting Mr. Quarles, Defendants did conduct a background

check to determine whether he actually had a valid LTC. Even though the state of

Georgia confirmed that Mr. Quarles possessed a valid LTC, Defendants,

conspiring in concert with PPD’s 18th District detectives, falsely informed DAO

that Georgia never issued Mr. Quarles an LTC.

   32.     Moreover, Defendants, conspiring in concert with PPD’s 18th District

detectives, falsely informed DAO that Mr. Quarles possessed the Taurus .9mm

while knowing that it was stolen from Georgia. Defendants had no evidence that

the firearm was stolen or that Mr. Quarles knowing possessed the gun under the

belief that it was stolen.




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   33.      Relying on Defendants’ false reports and unaware of their criminal

scheme to send Mr. Quarles’ to prison for serious crimes that never occurred, DAO

charged and prosecuted for Mr. Quarles carrying a firearm without an LTC, and

receiving stolen property, pursuant to 18 Pa. Cons. Stat. §§ 3925, 6106, 6108.

These offenses have a combined statutory maximum punishment of 22 years in

the state penitentiary.

   34.       Realizing that there was never a factual basis for the charges against

Mr. Quarles, DAO agreed to dismiss all charges against him and notified the Court

that the charges were unwarranted. On May 20, 2021, this Court’s Municipal

Criminal Section dismissed Defendants’ false charges with prejudice. Emails from

DAO and Phila. Ct of Comm. Pl., attached as Exhibit No. 3.

   35.      Defendants caused Mr. Quarles to serve approximately six months in

jail prior to his release on bail.

   36.      As a result of Defendants’ deliberately unlawful acts, Mr. Quarles has

suffered substantial loss of liberty and severe emotional distress.




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                      COUNT 1: False Imprisonment.

   37.    Mr. Quarles hereby incorporates ¶¶ 8-18 by reference.

   38.    On February 3, 2020, Defendants Ponente and Rozman falsely

imprisoned Mr. Quarles when they detained him without having any basis to

believe that criminal activity was afoot or that he had committed any crime, in

violation of the laws of Pennsylvania.

                     COUNT 2: Malicious Prosecution.

   39.    Mr. Quarles hereby incorporates ¶¶ 8-23 by reference.

   40.    On February 3, 2020, Defendants Ponente and Rozman initiated a

malicious prosecution of Mr. Quarles by deceiving Philadelphia’s DAO, with false

statements, into prosecuting Mr. Quarles for crimes they knew never occurred,

which ultimately resulted in Mr. Quarles’ complete exoneration, in violation of

Pennsylvania law.

                        COUNT 3: Civil Conspiracy.

   41.    Mr. Quarles hereby incorporates ¶¶ 8-23 by reference.

   42.     On February 3, 2020, Defendants Ponente and Rozman conspired, and

did act in concert with each other to violate Mr. Quarles’ rights, in violation of

Pennsylvania law.




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                           COUNT 4: Conversion.

   43.    Mr. Quarles hereby incorporates ¶¶ 8-19 by reference.

   44.     On February 3, 2020, Defendants Ponente and Rozman unlawfully and

without consent or justification converted Mr. Quarles’ lawful property by

confiscating, and refusing to return, his Georgia LTC credential and his .38 snub-

nosed pistol, in violation of Pennsylvania law.

                      COUNT 5: False Imprisonment.

   45.    Mr. Quarles hereby incorporates ¶¶ 8-10, 25-32, by reference.

   46.    On March 28, 2020, Defendants Tilghman, Turner, and McCabe falsely

imprisoned Mr. Quarles when they detained him without having any basis to

believe that criminal activity was afoot or that he had committed any crime, in

violation of the laws of Pennsylvania.


                     COUNT 6: Malicious Prosecution.

   47.    Mr. Quarles hereby incorporates ¶¶ 8-10, 25-35, by reference.

   48.    On February 3, 2020, Defendants Tilghman, Turner, and McCabe

initiated a malicious prosecution of Mr. Quarles by deceiving Philadelphia’s DAO,

with false statements, into prosecuting Mr. Quarles for crimes they knew never

occurred, which ultimately resulted in Mr. Quarles’ complete exoneration, in

violation of Pennsylvania law.



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                           COUNT 7: Civil Conspiracy.

     49.      Mr. Quarles hereby incorporates ¶¶ 8-10, 25-35, by reference.

     50.      On March 28, 2020, Defendants Tilghman, Turner, and McCabe

  conspired, and did act in concert with each other to violate Mr. Quarles’ rights, in

  violation of Pennsylvania law.

      WHEREFORE, Mr. Quarles demands substantial compensatory and

punitive damages against all named Defendants, jointly and severally, in the

amount of Ten Million Dollars ($10,000,000), plus interest and the cost of suit,

and such other relief as is just and proper.


                                                Respectfully,

                                                ___ /s/Aaron Bell_____
                                                Aaron Bell, Esquire
                                                Attorney for Mr. Quarles

Date: May 22, 2021




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       EXHIBIT NO. 1




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       EXHIBIT NO. 2




                                                                   Case ID: 210502280
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                           RECIPROCITY AGREEMENT
                                      between
                          The Commonwealth of Pennsylvania
                                        and
                                The State of Georgia
This Reciprocity Agreement is between the Commonwealth of Pennsylvania, by and through its
Office of Attorney General, and the State of Georgia, by and through its Office of Attorney
General (together, the "Parties").

WHEREAS, the purpose of this Reciprocity Agreement is to mutually extend reciprocal
concealed firearm carry license privileges to the residents of the Commonwealth of
Pennsylvania and the State of Georgia;

WHEREAS, the Commonwealth of Pennsylvania authorizes individuals, with a license issued
under 18 Pa. C.S. § 6109 (the "PA License"), to carry a concealed firearm;

WHEREAS, the State of Georgia authorizes individuals, with a license issued under O.C.G.A.
§ 16-11-129 (the "GA License"), to carry a concealed firearm;

WHEREAS, the Office of Attorney General of the Commonwealth of Pennsylvania is
authorized by 18 Pa. C.S. § 6109(k) to enter into a reciprocity agreement with the State of
Georgia providing for the recognition of GA Licenses;

WHEREAS, the Office of Attorney General ofthe State of Georgia is authorized by O.C.G.A.
§ 16-11-126(e) to enter into a reciprocity agreement with the Commonwealth of Pennsylvania
providing for the recognition of P A Licenses;

WHEREAS, the Office of Attorney General of the Commonwealth of Pennsylvania has
determined that the GA License meets the requirements for reciprocity in the Commonwealth of
Pennsylvania;

WHEREAS, the Office of Attorney General of the State of Georgia has determined that the P A
License meets the requirements for reciprocity in the State of Georgia; and

NOW, THEREFORE, in consideration of the mutual benefits and obligations set forth in this
Reciprocity Agreement, the Parties hereby agree and covenant as follows:

    1. The recitals above are reaffirmed and incorporated herein as material provisions of this
       Reciprocity Agreement.

   2. The Commonwealth of Pennsylvania shall recognize all valid GA Licenses issued to
      legal residents of the State of Georgia who are 21 years of age or older; the rights and
      privileges of GA License holders recognized under this Reciprocity Agreement shall be
      the same as, and not greater than, those rights and privileges granted to P A License
      holders under Pennsylvania law.


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   3. The State of Georgia shall recognize all valid PA Licenses; the rights and privileges of
      PA License holders recognized under this Reciprocity Agreement shall be the same as,
      and not greater than, those rights and privileges granted to GA License holders under
      Georgia law.

   4. This Reciprocity Agreement applies only to the carrying of concealed firearms and not to
      any other types of weapons.

   5. The Commonwealth of Pennsylvania and the State of Georgia will promptly inform each
      other of any changes in their respective concealed carry firearm license statutes and
      provide a copy of the revised statutes, as any changes may impact the validity of this
      Reciprocity Agreement.

   6. This Reciprocity Agreement is contingent upon and shall remain effective only as long as
      the respective statutory authority set forth above continues to authorize the Parties to
      grant reciprocal privileges.

   7. This Reciprocity Agreement shall become immediately effective, and rescind and replace
      any prior agreement, upon its execution by the Parties and shall continue in effect unless
      modified or terminated by the Parties in writing.

   8. This Reciprocity Agreement may be terminated by either Party upon thirty (30) calendar
      days' written notice.

   9 . .GA License holders carrying a concealed firearm in the Commonwealth ofPennsylvania
        under this Reciprocity Agreement shall comply with all applicable laws, rules, and
        regulations ofthe Commonwealth of Pennsylvania.

   10. PA License holders carrying a concealed firearm in the State of Georgia under this
       Reciprocity Agreement shall comply with all applicable laws, rules, and regulations of
       the State of Georgia.

   11. This document is not intended to and shall not limit or restrict the statutory authority or
       jurisdiction of the Parties.


                                                      TinaM. Pi] r
Chief Deputy Attorney General                         Senior Assistant Attorney General
Office of Attorney General                            Office of Attorney General
Commonwealth of Pennsylvania                          State of Georgia




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       EXHIBIT NO. 3




                                                                   Case ID: 210502280
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                                                              Aaron Bell, Esquire <aaronbelllawfirm@gmail.com>



Fw: Request for Re-List to Withdraw Prosecution
2 messages

BERTO M ELMORE <bertoelmore@msn.com>                                              Tue, May 18, 2021 at 11:57 PM
To: "Aaron Bell, Esquire" <aaronbelllawfirm@gmail.com>




 Berto M. Elmore
 Attorney At Law
 C: 215-668-5802
 E: bertoelmore@msn.com

 From: LizMary Mejia-Julio <LizMary.Mejia-Julio@Phila.gov>
 Sent: Tuesday, May 18, 2021 7:48 PM
 To: Dugan, Edwin <edwin.dugan@courts.phila.gov>; Cantoral, Jennifer <Jennifer.Cantoral@courts.
 phila.gov>
 Cc: Deborah Watson-Stokes <Deborah.Watson-Stokes@phila.gov>; bertoelmore@msn.com
 <bertoelmore@msn.com>
 Subject: Request for Re-List to Withdraw Prosecution

 Good evening,

 I would like to relist both cases for Quarles, Ryan MC-003125-2020; MC0007375-2020 in room 405 to
 be withdrawn by the Commonwealth.


 Defendant: Quarles, Ryan

 MC-51-CR-003125-2020

 MC-51-CR-0007375-2020

 Defense email: bertoelmore@msn.com <bertoelmore@msn.com>;

 Next listing date: 7/28/2021 9 AM in room 503



 Best,

 LizMary Mejia-Julio
 Assistant District Attorney
 Municipal Court Unit
 Philadelphia District Attorney’s Office
 3 South Penn Square
 Philadelphia, PA 19107
 Office: 215-686-5760
 Cell: 267-225-5828
                                                                                             Case ID: 210502280
              Case 2:21-cv-02813-CFK           Document 1-1   Filed 06/24/21   Page 20 of 22
 lizmary.mejia-julio@phila.gov




            Virus-free. www.avast.com



BERTO M ELMORE <bertoelmore@msn.com>                                            Wed, May 19, 2021 at 9:30 PM
To: "Aaron Bell, Esquire" <aaronbelllawfirm@gmail.com>




 Berto M. Elmore
 Attorney At Law
 C: 215-668-5802
 E: bertoelmore@msn.com

 From: Clark, Hayes <Hayes.Clark@courts.phila.gov>
 Sent: Wednesday, May 19, 2021 9:20 AM
 To: bertoelmore@msn.com <bertoelmore@msn.com>; lizmary.mejia-julio@phila.gov <lizmary.mejia-
 julio@phila.gov>; Police Cpl_Court_Attendance <Police.Cpl_Court_Attendance@phila.gov>; Wichert,
 William <william.wichert@courts.phila.gov>; John.Tartikoff@phila.gov <John.Tartikoff@phila.gov>;
 Robert.Daisey@phila.gov <Robert.Daisey@phila.gov>; Mary.Zlotnicki@phila.gov
 <Mary.Zlotnicki@phila.gov>; Sheaffer, Monique <monique.scott@courts.phila.gov>
 Cc: Cantoral, Jennifer <Jennifer.Cantoral@courts.phila.gov>; Dugan, Edwin
 <edwin.dugan@courts.phila.gov>; McDermott, Joseph <Joe.McDermott@courts.phila.gov>; Mertz,
 Shawn <Shawn.Mertz@courts.phila.gov>
 Subject: FW: Request for Re-List to Withdraw Prosecution

 CW v. Ryan Quarles
 MC-51-CR-0003125-2020
 DC#: 2035010242
 Date Cancelled: 7/19/21, 503 SCCJ, 10AM – Preliminary Hearing
 Date Rescheduled: 5/20/21, 405 SCCJ, 10:30AM – Status

 MC-51-CR-0007375-2020
 DC#: 2018025396
 Date Cancelled: 7/8/21, 503 SCCJ, 9AM – Preliminary Hearing
 Date Rescheduled: 5/20/21, 405 SCCJ, 10:30AM – Status



 Good Morning,


 Please be advised that the matters above have been administratively rescheduled for a withdraw on
 5/20/21, 405 SCCJ @ 10:30AM by request of the DA’s Office. By copy of this email, all parties have
 been advised of the listing.


 Thank you.

                                                                                          Case ID: 210502280
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Hayes A. Clark Jr.
First Judicial District of Pennsylvania
Municipal Court - Criminal Listings
Justice Juanita Kidd Stout
Center for Criminal Justice
1301 Filbert St
Philadelphia, PA 19107
Phone: 215-683-7297
Fax: 215-683-7295
Hayes.Clark@courts.phila.gov


From: LizMary Mejia-Julio <LizMary.Mejia-Julio@Phila.gov>
Sent: Tuesday, May 18, 2021 7:48 PM
To: Dugan, Edwin <edwin.dugan@courts.phila.gov>; Cantoral, Jennifer <Jennifer.Cantoral@courts.
phila.gov>
Cc: Deborah Watson-Stokes <Deborah.Watson-Stokes@phila.gov>; bertoelmore@msn.com
Subject: Request for Re-List to Withdraw Prosecution

CAUTION: This email originated from outside the organization. Do not click on links or open any attachments unless you
recognize the sender and confirmed the content is safe.
[Quoted text hidden]




                                                                                                           Case ID: 210502280
DocuSign Envelope ID: 8B6C93B8-65B3-4AF1-B6D0-74A0FDAA6DD8
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                      IN THE COURT OF COMMON PLEAS OF PHILADELPHIA,
                                       PENNSYLVANIA

                Ryan Quarles,                                    :
                Plaintiff                                        :
                                      v.                         :
                                                                 :       Civil Action
                Philadelphia Police Officers                     :       No.
                Matthew Ponente, et al.                          :
                                                                 :
                                                                 :
                                                                 :
                                                                 :
                                                                 :

                                                      VERIFICATION

                   The undersigned avers, under the penalty for unsworn falsification to
            authorities, that the facts contained in the foregoing Complaint are true to the best
            of his knowledge and belief.



                                                        __________________
                                                            Ryan Quarles
                                                            Plaintiff




            Date: May 22, 2021




                                                                                                Case ID: 210502280
